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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :      CASE NO. 23-CR-71 (RDM)
               v.                             :
BRYAN SHAWN SMITH,                            :
                                              :
                        Defendant.            :


    GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION TO DISMISS THE
                     SUPERSEDING INDICTMENT

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, respectfully files this Response to the defendant’s Motion to Dismiss Superseding

Indictment on Grounds of Unconstitutional Vindictiveness and Retaliation (ECF No. 57). As set

forth herein, the defendant’s motion as it relates to Count Two of the Superseding indictment is

moot. Additionally, the defendant’s motion is a mishmash of conclusory arguments that ignore

binding case law and contorts the clear record of the case. Accordingly, the motion is without merit

and should be denied.

                                      Relevant Background

       On December 13, 2022, Bryan Smith was arrested in Huntsville, Alabama. Smith’s first

attorney, Aubrey Webb, entered an appearance on December 19, 2022. (ECF No. 6). In February

2023, before Smith was initially indicted in the case, the government conducted a reverse proffer

with Smith and his counsel. The reverse proffer did not lead to a pretrial resolution and Smith

indicated he wanted a trial in his case. The grand jury returned an indictment on March 8, 2023,

on five counts: violations of 18 U.S.C. § 231(a)(3), 18 U.S.C. § 111(a)(1) and 2, 18 U.S.C. 1752

(a)(1) and (b)(1)(A), 18 U.S.C. § 1752(a)(4), and 40 U.S.C. § 5104(e)(2)(F). (ECF No. 16)
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       On March 27, 2023, the Court ordered a jury trial that would begin on November 6, 2023.

Mr. Webb filed a motion to withdraw as Smith’s Counsel on September 25, 2023. (ECF No. 29).

The Court granted the motion to withdraw and allowed Smith to proceed pro se on October 2,

2023. On the same date, the Court vacated the jury trial. On November 14, 2023, the Court

rescheduled the trial for April 5, 2024.

       In January 2024, new counsel joined for the government on the case. The government

began to review the evidence in the case in preparation for trial. This included determining relevant

witnesses, exhibits, and jury instructions necessary for the trial. The government also began

interviewing potential witnesses for trial that provided additional context to the evidence in this

case. During new counsel’s review of the evidence, the government realized it may be necessary

to revisit the previous charging decision that was made at the beginning of the case.

       After careful consideration and review of the evidence, the government sought, and the

grand jury grand jury returned, a superseding indictment. (ECF No. 40). The indictment amended

Count Two in two respects: including language regarding “any person assisting an officer of the

United States Government” and including the 111(b) language regarding inflicting bodily injury.

Count Three was amended to reduce the maximum punishment, by removing the (b)(1)(A) deadly

or dangerous weapon enhancement. The Superseding Indictment also added two additional

misdemeanor charges for violations of 18 U.S.C. § 1752(a)(2) and 40 U.S.C. § (e)(2)(D).

       The Court arraigned Smith on the Superseding Indictment on March 19, 2024, where he

pleaded not guilty to the charges. On March 28 and 29, 2024, three defense attorneys filed notice

of appearances in the case. (ECF Nos. 47-49). On April 2, 2024, the Court allowed Smith to

withdraw his waiver of counsel and allowed Messrs. Pierce, Roots, and Sabatini to represent

Smith. At the same hearing, the Court continued the April 5 trial date to May 6. On April 11, the
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government filed a notice that it would not pursue the 111(b) bodily injury portion of Count Two

and, instead, would proceed only on the lesser felony violation of 18 U.S.C. §§ 111(a)(1) and 2.

(ECF No. 58).

                                            Argument

   I.       The Motion is Moot Because the Basis for the Vindictiveness Claim No Longer
            Exists

         Smith’s motion appears to claim the Superseding Indictment is vindictive because the

government added the 111(b) bodily injury portion to Count Two of the Superseding Indictment.

The Defendant’s motion does not raise any objection to the addition of two misdemeanor charges,

nor to the reduction in another charge from a felony to a misdemeanor—indeed, it does not mention

that this happened. But the government no longer intends to prove the 111(b) bodily injury element

of Count Two as noticed on April 11. (ECF No. 58). Therefore, the Court should deny the motion

as moot.

   II.      The Defendant is Not Entitled to a Presumption of Vindictiveness when the
            Government Added Charges after Failed Plea Negotiations.

         Smith alleges that the government filed the Superseding Indictment because plea

negotiations failed, Smith fired previous counsel, and he intended to exercise his constitutional

rights to a trial. (ECF No. 57 at 2). The defendant attempts to strengthen his claim of prosecutorial

vindictiveness by reference to other January 6 cases in which he claims, “federal prosecutors added

(or threatened to add) an additional 20-year felony charge.” (ECF 57 at 5).

         The defendant’s contention that a presumption of vindictiveness arises under the facts of

the case is both factually and legally flawed. Supreme Court precedent confirms that the

government is well within its discretion to bring additional charges after a defendant rejects a plea

offer, even if those charges are more serious.
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   A. Legal Principles Regarding Vindictive Prosecution

       “[T]he doctrine [of prosecutorial vindictiveness] precludes action by a prosecutor that is

designed to penalize a defendant for invoking any legally protected right available to a defendant

during a criminal prosecution.” United States v. Safavian, 649 F.3d 688, 692 (D.C. Cir. 2011)

(citation omitted). “A defendant may prove prosecutorial vindictiveness by submitting either (i)

evidence of the prosecutor’s actual vindictiveness or (ii) evidence sufficient to establish a realistic

likelihood of vindictiveness, thereby raising a presumption the Government must rebut with

objective evidence justifying its action.” Id. The defendant has provided neither.

       The mere fact that the government adds more charges after failed plea negotiations does

not give rise to a presumption of vindictiveness. The Supreme Court has held that a defendant’s

indictment on additional or more serious charges after failed plea negotiations does not violate due

process. In Bordenkircher v. Hayes, 434 U.S. 357 (1978), the Court held that the Due Process

Clause does not prohibit a prosecutor from carrying out a threat, made during plea negotiations, to

bring additional charges against a defendant who refused to plead guilty to the offense with which

he was originally charged. The Court reasoned that prosecutors enjoy wide discretion in bringing

charges against a defendant, and that in the “give and take” of plea bargaining, there is no element

of punishment or retaliation as long as the defendant is free to accept or reject the prosecutor’s

offer. Id. at 363. Similarly, in United States v. Goodwin, 457 U.S. 368 (1982), the Court held that

a prosecutor’s pretrial decision to bring a felony charge against a defendant who had rejected a

guilty plea to a misdemeanor did not violate due process.

       These decisions stem from the bedrock principle that “so long as the prosecutor has

probable cause to believe that the accused committed an offense defined by statute, the decision

whether or not to prosecute, and what charge to file or bring before a grand jury, generally rests
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entirely in his discretion.” Bordenkircher, 434 U.S. at 364; see also Goodwin, 457 U.S. at 382-

383 (“Bordenkircher made clear that the mere fact that a defendant refuses to plead guilty and

forces the government to prove its case is insufficient to warrant a presumption that subsequent

changes in the charging decision are unjustified.”); United States v. Meyer, 810 F.2d 1242, 1246

(D.C. Cir. 1987) (“[P]roof of a prosecutorial decision to increase charges after a defendant has

exercised a legal right does not alone give rise to a presumption in the pretrial context.”).

       In United States v. Goodwin, the defendant originally was charged with misdemeanors;

after he exercised his right to go to trial, he was indicted on felony charges. The observations that

led the Supreme Court to reject Goodwin’s vindictiveness claim are equally dispositive of Smith’s

motion. As in Goodwin, “the initial charges filed by a prosecutor may not reflect the extent to

which an individual is legitimately subject to prosecution.” Id. at 382. Such was the case here.

       Goodwin recognized that, early in a case, before extensive trial preparation is complete,

“the prosecutor’s assessment of the proper extent of prosecution may not have crystallized,’ so an

increase in charges may be the result of additional information or further consideration of known

information, rather than a vindictive motive.” U.S. v. Slatten, 865 F.3d 767, 799 (quoting Goodwin,

457 U.S. at 381) (emphasis added). In this case, the government’s explanation of the additional

charge closely mirrors the Court’s reasoning in Goodwin. It was entirely appropriate for the

government’s assessment of the case to crystallize, or evolve, as it further considered the

information it possessed as the government began to prepare for trial.

       Recently, the Court rejected a similar vindictive prosecution in United State v. Baez.

(D.D.C. March 18, 2024). There the defendant was charged with misdemeanors by an information

that was superseded with a felony indictment in January 2024. Id. at 3. The Court noted the

substantial gap in time between the defendant’s plea rejection and the superseding indictment made
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it unlikely the new charge was brought to punish the defendant. Similarly, Smith rejected any

negotiations on this case in February 2023, more than a year before the Superseding Indictment

was returned. Smith’s decision to exercise his right to a trial was also made almost a year before

the Superseding Indictment was filed. It is difficult to see how the Superseding Indictment was

punishment for these decisions given the length of time that passed.

       Even where a presumption of vindictiveness applies, the government can defeat it by

producing “objective evidence” that its motivation in charging the defendant was lawful. Safavian,

649 F.3d at 694. That burden is “admittedly minimal—any objective evidence justifying the

prosecutor’s actions will suffice.” Id. A proffer showing that after the initial charging decision, the

government uncovered new evidence documenting the defendant’s conduct—e.g., additional

criminal offenses or aggravating features of the offense previously charged—suffices. See, e.g.,

United States v. Meadows, 867 F.3d 1305, 1315 (D.C. Cir. 2017) (observing that “the

government’s evidence regarding the severity of Meadows’ fraudulent conduct—which continued

for approximately a year, involved two separate false filing schemes, and resulted in approximately

49 false claims—was sufficient to satisfy this court’s admittedly minimal requirement of any

objective evidence”) (internal citations omitted).

       Additionally, the case law is well-settled that a prosecutorial decision to increase charges

after a defendant has exercised a legal right does not alone give rise to a presumption of

vindictiveness in the pretrial context. See Meyer, 810 F.2d at 1246. To show vindictiveness in a

pretrial posture, a defendant “must point to something more than routine invocations of procedural

rights, such as declining a plea offer.” United States v. Michel, No. 1:19-cr-148 (CKK), 2022 WL

4182342, at *8 (D.D.C. Sept. 13, 2022) (quoting Meyer, 810 F.2d at 1247) (emphasis added).
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       Smith attempts to point to “something more” by vaguely mentioning that he now faces

“major new charges.” (ECF No. 57 at 2). But the new charges are the result of additional evaluation

of the evidence as trial approached. The Superseding Indictment added two misdemeanor charges

and added 111(b) to an already charged 111(a). These changes do not constitute major new

charges, rather they are changes based on an evolving understanding of the case. Because

Bordenkircher and Goodwin allow a prosecutor to file additional and more serious charges, then

it would be illogical to conclude that a slightly different charge is proof of vindictiveness.

       Nor does the defendant’s reference to other January 6 cases add “something more” to his

claim. The defendant has not cited one instance where any court presumed or found prosecutorial

vindictiveness in a January 6 case. There have been more than 1,300 defendants charged in relation

to January 6, and in some cases, superseding indictments were necessary because the government

discovered additional criminal conduct. This is not evidence of malice, but evidence of the

mayhem and chaos that occurred at the Capitol that day. This is yet another effort by the defendant

to “merely to mention a possible argument in the most skeletal way leaving the court to do

counsel's work.” Schneider, 412 F.3d 190, (D.C. Cir. 2005).

       In Baez, the Court addressed the specific claim of a pattern of prosecutorial vindictiveness

in January 6 cases. The Court found no pattern and noted that the sheer volume of defendants made

it “quite likely that, as [the government], prepared for trials, the government uncovered new

evidence against numerous defendants who declined plea deals and chose to go to trial.” Id. at *3.

Here, the government’s theory of the case evolved during preparation for trial when it reviewed

the evidence and decided to supersede based on a more wholistic understanding of the evidence.

       The cases cited by the defendant also do not advance his claim. In United States v. Velsicol

Chem. Corp., 498 F. Supp. 1255 (D.D.C.) the presumption of vindictiveness arose, not because
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the defendant rejected a plea offer, but because the prosecutor filed additional charges because the

defendant plead no contest to the crime rather than guilty. Similarly, in United States v. Groves,

571 F.2d 450 (9th Cir. 1978) the court found an appearance of vindictiveness when the prosecutor

added charges after the defendant asserted his rights under the Speedy Trial Act. Both cases are

inapposite to the facts presented here and neither support an argument that a prosecutor may not

file additional and more serious charges after a defendant has rejected a plea offer.

       Instead, the government may lawfully supersede the indictment—and reserves the right to

do so—if it determines that the evidence obtained in its investigation establishes probable cause

for additional charges. See United States v. Reffitt, No. 1:21-cr-32 (DLF), 2022 WL 1404247, at

*3-*4 (D.D.C. May 4, 2022) (finding sufficient evidence to support conviction under § 1512(c)(2)

and 2 for an individual on January 6, 2021 who ascended the Northwest steps and appeared to lead

the crowd that assaulted and then overcame officers). A prosecutor “remain[s] free before trial to

exercise the broad discretion entrusted to him to determine the extent of the societal interest in

prosecution. An initial decision should not freeze future conduct.” Goodwin, 457 U.S. at 382.

                                       CONCLUSION
       For the foregoing reasons, the Court should deny Smith’s motion.

                                              Respectfully submitted,

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